934 F.2d 320Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James D. ROWE, Petitioner-Appellant,v.Edward W. MURRAY, Respondent-Appellee.
    No. 91-7039.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 1, 1991.Decided June 3, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (CA-90-1876-N)
      James D. Rowe, appellant pro se.
      Robert H. Anderson, III, Office of the Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before DONALD RUSSELL, K.K. HALL and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      James D. Rowe seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal, deny appellant's motion for release, and dismiss the appeal on the reasoning of the district court.  Rowe v. Murray, CA-90-1876-N (E.D.Va. Feb. 19, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    